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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



United States of America,
                                                           Case. No. 22-cr-195 (PJS/JFD)
                      Plaintiff,

v.
                                                      ORDER ON SECOND MOTION TO
Quantez Demarco Ward,                                   CONTINUE DATES TO FILE
                                                       MOTIONS AND THE MOTIONS
                      Defendant.                               HEARING




       Before the Court is the Second Motion of the Defendant, Mr. Ward, for an extension

of time in which to prepare and file pretrial motions. The Motion is not opposed by the

United States. A reading of the Motion shows that Mr. Ward seeks a general, one-month

continuance of all deadlines and hearings in this case. For the following reasons, the Motion

is DENIED.

       Mr. Ward’s counsel states that he wants the extension requested in the Motion

because “the parties have begun discussions towards settlement and the parties believe that it

is in the interest of judicial economy that the new dates be continued to allow the parties a

chance to reach possible resolution.” (Mot. at 1, Dkt. No. 21.) There is no explanation of

why it is that a full halt to the case is necessary in order to facilitate settlement negotiations.

Nor does the phrase “the parties have begun discussions towards settlement” mean that this

case will, in fact, resolve.

       There is no provision of the Speedy Trial Act that allows time spent negotiating a
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resolution to be excluded from the calculation of the time within which a case must be

brought to trial. Nor is there any other filing on the docket of this case that will allow time to

be excluded from the Speedy Trial Act’s calculations. If the extension sought by this Motion

were to be granted, it would be the second extension motion granted in the space of just a

month, and the combined length of the extensions would be six weeks. The Speedy Trial Act

requires criminal cases to be brought to trial within seventy days—ten weeks. 18 U.S.C.

§ 3161(c)(1). These extensions, in other words, will consume sixty percent of the time in

which to bring this case to trial.

       Absent more, Defendant’s Second Motion to Continue Dates to File Motions and the

Motions Hearing (Dkt. No. 21) must be, and is, DENIED.




      Date: September 15, 2022                       s/ John F. Docherty
                                                    JOHN F. DOCHERTY
                                                    United States Magistrate Judge




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